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                           Exhibit 1
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 UMG RECORDINGS, INC., et al.,
               Plaintiffs,
                                                          No. 3:19-cv-17272-MAS-ZNQ
          v.

 RCN TELECOM SERVICES, LLC, et al.
                Defendants.


                             RCN’S OBJECTIONS AND
               ANSWERS TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendants RCN

 Telecom Services, LLC, RCN Telecom Services of New York, L.P., RCN Capital Corp., RCN

 Telecom Services of Philadelphia, LLC, RCN Telecom Services of Massachusetts, LLC,

 Starpower Communications, LLC, RCN Management Corporation, RCN ISP, LLC, RCN Digital

 Services, LLC, RCN NY LLC 1, RCN Telecom Services (Lehigh), LLC, RCN Telecom Services

 of Illinois, LLC, 21st Century Telecom Services, Inc., and RCN Cable TV of Chicago, Inc.

 (collectively, “RCN”), by and through its attorneys, hereby responds to Plaintiffs’ First Set of

 Interrogatories with the following answers and objections.

                                   GENERAL OBJECTIONS

          The following General Objections are incorporated by reference in each of RCN’s

 Specific Objections and Answers set forth below:

          1.     RCN objects to Plaintiffs’ instructions to the extent they impose obligations on

 RCN that are inconsistent with or exceed those set forth in the Federal Rules of Civil Procedure,

 Rules of the United States District Court for the District of New Jersey, or any Order of this

 Court.
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        2.      RCN objects to the First Set of Interrogatories to the extent they seek the

 disclosure or production of information protected by the attorney-client privilege and/or work

 product doctrine. Such information shall not be provided in response to the First Set of

 Interrogatories, and any inadvertent disclosure thereof shall not be deemed a waiver of any

 privilege or protection with respect to such information.

        3.      Where RCN provides a partial response to an otherwise objectionable

 Interrogatory, RCN does not waive any general or specific objection by providing a partial

 response. Nothing in RCN’s answers shall be construed as waiving any rights or objections that

 otherwise might be available to RCN, nor should RCN’s responses to the First Set of

 Interrogatories be deemed an admission or relevance, materiality, or admissibility of the

 Interrogatories or related answers.

        4.      RCN objects to the Definitions set forth in Plaintiffs’ First Set of Interrogatories,

 specifically, RCN objects to the definition of “Plaintiffs’ Copyrighted Works” as overly broad in

 that it purports to encompass materials not yet identified.

        5.      RCN objects to the use of the term “concerning” in Plaintiffs’ First Set of

 Interrogatories as vague and ambiguous. RCN understands and interprets such Interrogatories to

 seek information that refers to the specific subject matter.

        6.      RCN reserves the right to supplement these General Objections, as well as its

 specific Answers and Objections to the First Set of Interrogatories.

             RCN’S ANSWERS AND OBJECTIONS TO INTERROGATORIES

        Interrogatory No. 1. Identify all persons who you believe have knowledge of relevant

 facts in the lawsuit and identify the issues about which you believe they have knowledge.

        RESPONSE:
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        In addition to its General Objections, RCN objects to Interrogatory No. 1 to the extent it

 seeks disclosure of privileged attorney-client communications and/or attorney work product.

 RCN also objects to Interrogatory No. 1 as unduly burdensome and not proportional to the needs

 of the case to the extent it purports to require RCN to identify persons with knowledge of

 relevant facts who are affiliated with Plaintiffs.

        Subject to its specific and general objections, RCN states that the following persons

 affiliated with Defendants are believed to have knowledge of relevant facts in this lawsuit:

        •       Philip Rhinelander – Senior Manager Application Development, IT. Mr.

                Rhinelander is likely to have knowledge regarding RCN’s receipt of, and policies

                and practices for responding to, allegations of copyright infringement against

                users of RCN’s network. Mr. Rhinelander is also likely to have knowledge

                regarding the involvement of Patriot Media Consulting, LLC (“Patriot”) in RCN’s

                policies and practices for responding to such allegations of copyright

                infringement.

        •       Ruth Ann Welsh – PMO Director for IT. Ms. Welsh is likely to have knowledge

                regarding RCN’s policies and practices for responding to allegations of copyright

                infringement against users of RCN’s network.

        •       John Feehan – EVP and Chief Financial Officer. Mr. Feehan is likely to have

                knowledge regarding RCN’s financials and regarding the relationship between

                Patriot and RCN.



        Interrogatory No. 2. If any of the Defendants defined herein as “RCN” is improperly

 identified in the Complaint, give its proper identification and state whether you will accept
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 service of an amended summons and complaint reflecting the information furnished by you in

 answer hereto.

        RESPONSE:

        In addition to its General Objections, RCN objects to Interrogatory No. 2 as vague and

 ambiguous in that “improperly identified” is subject to multiple different interpretations.

        Subject to its specific and general objections, and to the extent this Interrogatory is

 understood, RCN states that the names of the Defendants listed in the Complaint, and defined in

 Plaintiffs’ First Set of Interrogatories as “RCN,” are the correct names of existing legal entities.



        Interrogatory No. 3. If you contend that some other person, in whole or in part, was

 involved in or responsible for any of the matters that form the basis for Plaintiffs’ claims in the

 Complaint,    identify    that   person    and    describe    in   detail   the    basis   of    their

 involvement/responsibility.

        RESPONSE:

        In addition to its General Objections, RCN objects to Interrogatory No. 3 as seeking

 irrelevant information—to the extent the interrogatory is understood—and as vague and

 ambiguous as to the meaning of “some other” person who is “involved in or responsible for any

 matters that form the basis for Plaintiffs’ claims in the Complaint.” RCN also objects to this

 Interrogatory as seeking a legal conclusion.

        Based on these objections, RCN will not answer Interrogatory No. 3. RCN is willing to

 meet and confer regarding the nature of the information sought by this interrogatory.
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        Interrogatory No. 4. For January 1, 2010 to the present, identify and describe in detail

 all of RCN’s policies and procedures concerning copyright infringement on RCN’s network,

 including any DMCA Policy, Repeat Infringer Policy, Acceptable Use Policy, and any other

 policy or procedure concerning RCN’s receipt, review, forwarding to Customers, response to,

 and resolution of, Notices and/or other copyright infringement allegations. For each policy or

 procedure, provide the time period during which it was in effect, a description of the timing of

 and reasons for any changes to any of the policies and procedures, and whether and how such

 policies or procedures were communicated to Customers or any other persons outside of RCN.

        RESPONSE:

        In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, unduly burdensome, and not proportional to the needs of

 the case, to the extent it seeks information regarding policies and procedures that were in effect

 more than three years before Plaintiffs filed their Complaint in this matter. RCN also objects to

 this interrogatory to the extent it seeks information regarding the reasons for changes to policies

 and procedures that is protected by attorney-client privilege and/or the work product doctrine.

        RCN also notes that it considers this Interrogatory No. 4 to constitute at least three

 separate interrogatories for purposes of Rule 33(a)(1).

        Subject to its specific and general objections, RCN will produce and identify non-

 privileged documents pursuant to Rule 33(d) from which the answer to this Interrogatory may be

 determined.



        Interrogatory No. 5. For January 1, 2010 to the present, identify and provide the number

 of Notices or other documents or communications concerning copyright infringement allegations
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 that RCN received, from any source. Your response should include the date the Notice or

 document/communication was received, the type of Notice or document/communication (e.g.,

 email, letter, etc.), the sender of the Notice or document/communication (e.g., Rightscorp), the IP

 address associated with the Notice or document/communication, the Customer associated with

 that IP address identified in the Notice or document/communication, and the identity of the

 copyrighted work(s) that was allegedly infringed.

        RESPONSE:

        In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, oppressive, unduly burdensome, and not proportional to the

 needs of the case, to the extent it seeks information about Notices that are irrelevant to Plaintiffs’

 claims in this case, and about Notices sent more than three years before Plaintiffs filed their

 Complaint in this matter. RCN also objects to this Interrogatory as unduly burdensome and

 oppressive to the extent it seeks information that is already in Plaintiffs’ possession, custody, or

 control.

        RCN also notes that it considers this Interrogatory No. 5 to constitute at least two

 separate interrogatories for purposes of Rule 33(a)(1).

        Subject to its specific and general objections, RCN will produce and identify pursuant to

 Rule 33(d) all Notices that RCN has received from Rightscorp and from MarkMonitor (to the

 extent the MarkMonitor Notice was sent on behalf of RIAA). With respect to these Notices,

 RCN is willing to meet and confer regarding the request to identify “the Customer associated

 with that IP address identified in the Notice.”
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         Interrogatory No. 6. Identify and describe in detail all actions you have taken in

 response to each of the Notices and/or other documents or communications You identified in

 response to Interrogatory No. 5, including, without limitation, whether, when and how you

 forwarded the Notice and/or other document/communication to the Customer associated with the

 IP address contained in the Notice or document/communication; whether you engaged in other

 communications with the Customer concerning the Notice(s) or alleged copyright infringement;

 whether and how you tracked or monitored Customers about whom RCN has received multiple

 Notices or other documents/communications concerning copyright infringement allegations;

 whether you suspended the account of the Customer, and if so, when and for how long; and

 whether you terminated the account of the Customer, and if so, when.

         RESPONSE:

         In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, oppressive, unduly burdensome, and not proportional to the

 needs of the case, to the extent it seeks information about Notices that are irrelevant to Plaintiffs’

 claims in this case, and about Notices sent more than three years before Plaintiffs filed their

 Complaint in this matter. RCN asserts the same objections to this Interrogatory to the extent it

 seeks a tremendous amount of detailed information, the collection, review, and organization of

 which would impose great burdens and costs on RCN. RCN also objects to this Interrogatory as

 vague, ambiguous, unduly burdensome, and overly broad in that it seeks a description of various

 “actions,” which could be interpreted to call for information with no potential relevance to any

 issue in this case.

         Subject to its specific and general objections, RCN will produce and identify documents

 under Rule 33(d) from which the answer to this Interrogatory may be determined, in terms of
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 RCN’s policies and procedures for addressing allegations of copyright infringement and

 communicating with subscribers about same from 2016 to present. With respect to information

 regarding individual Notices and “actions” taken with respect to individual subscriber accounts,

 RCN is willing to meet and confer with Plaintiffs about the nature of the responsive information

 RCN possesses and the manner in which it is stored.



        Interrogatory No. 7. If you contend that you are entitled to any safe harbor protection

 under the DMCA, identify and describe in detail the factual and legal bases for that contention.

        RESPONSE:

        In addition to its General Objections, RCN objects to this Interrogatory as premature and

 as seeking information protected by the attorney-client privilege and/or work product doctrine, to

 the extent it seeks information about a defense that RCN has not yet raised and of which RCN

 currently has no obligation to provide notice.

        Subject to its specific and general objections, RCN states that it will supplement its

 answer to this Interrogatory in the event it raises a defense under any DMCA safe harbor.



        Interrogatory No. 8. For each year from 2011 to the present, identify and provide the

 number of accounts of your Customers that RCN has suspended and the number of accounts of

 your Customers that RCN has terminated, for allegations of copyright infringement, for non-

 payment, or for any other reasons. Your response should be organized by category of reasons for

 suspension and termination (e.g., in 2011, X number of Customers were suspended for

 allegations of copyright infringement, Y number were terminated for allegations of copyright

 infringement, Z number were suspended for non-payment, etc.).
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         RESPONSE:

         In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, oppressive, unduly burdensome, and not proportional to the

 needs of the case, in that it seeks a tremendous amount of detailed information, the collection,

 review, and organization of which would impose great burdens and costs on RCN.              This

 Interrogatory is overly broad, unduly burdensome, and not proportional to the needs of the case

 as it seeks information regarding account terminations that have no bearing on any issue in this

 lawsuit, and regarding account terminations and suspensions more than three years before

 Plaintiffs filed their Complaint in this matter. RCN will not provide information relating to the

 termination or suspension of subscriber accounts for reasons other than allegations of copyright

 infringement.

         RCN also notes that it considers this Interrogatory No. 8 to constitute at least two

 separate interrogatories for purposes of Rule 33(a)(1).

         Subject to its specific and general objections, RCN will produce and identify non-

 privileged documents pursuant to Rule 33(d) from which one may determine the annual number

 of account terminations based on allegations of copyright infringement, for the years 2016 to

 present. With respect to information regarding account suspensions based on allegations of

 copyright infringement for the years 2016 to present, RCN is willing to meet and confer with

 Plaintiffs about the nature of responsive information RCN possesses and the manner in which it

 is stored.



         Interrogatory No. 9. For each year from 2011 to the present, identify and provide the

 number of Rightscorp Notices that RCN received; the number of Rightscorp Notices RCN
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 forwarded to Customers; the number of Rightscorp Notices RCN received that RCN was unable

 to associate with a RCN Customer, if any; the revenue and profits attributable to the Customers

 for whom RCN received one or more Rightscorp Notices (in total and by Customer); the number

 of RCN Customers for whom RCN received one or more Rightscorp Notices and one or more

 Notices from another person; the number of Customers who received more than one Rightscorp

 Notice, received three or more, 10 or more, 50 or more, 100 or more, 500 or more, and 1,000 or

 more; the number of Customers for whom RCN received Rightscorp notices who were

 terminated for alleged copyright infringement; and of those Customers who were terminated, the

 number who were re-instated and the timing of their reinstatement.

        RESPONSE:

        In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, oppressive, unduly burdensome, and not proportional to the

 needs of the case, in that it seeks a tremendous amount of detailed information, the collection,

 review, and organization of which would impose great burdens and costs on RCN.                This

 Interrogatory is overly broad, unduly burdensome, and not proportional to the needs of the case

 as it seeks information unrelated to the allegations of copyright infringement asserted in this

 lawsuit, and information about Notices received more than three years before Plaintiffs filed their

 Complaint in this matter.

        RCN also notes that it considers this Interrogatory No. 9 to constitute at least eight

 separate interrogatories for purposes of Rule 33(a)(1).

        Subject to these objections, RCN states that it will produce and identify pursuant to Rule

 33(d) non-privileged documents from which some of the requested answers may be determined,

 including all Notices it has received from Rightscorp, documents from which one may determine
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 the number of Rightscorp Notices received that could not be associated with an RCN subscriber,

 documents from which one may determine the number of subscriber accounts that were

 terminated based on allegations of copyright infringement for the years 2016 to present, and

 documents sufficient to identify any subscriber who was terminated based on allegations of

 copyright infringement and then subsequently reinstated, if any.



         Interrogatory No. 10. Identify all persons who have had an ownership interest in RCN

 from 2011 to the present, and for each such person’s ownership interest, identify the interest as a

 percentage of RCN and as a dollar amount, including the nature, amount, and time period of such

 interest, any changes to that ownership interest over time, and all economic benefits of any

 nature that RCN has provided or could in the future provide to the persons you identify, by virtue

 of such interest.

         RESPONSE:

         In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, oppressive, unduly burdensome, and not proportional to the

 needs of the case as the Interrogatory seeks information not relevant to any issues in this lawsuit.

 RCN also asserts the same objections to the extent this Interrogatory purports to require it to

 calculate the dollar value of ownership interests in RCN over time. RCN also objects to this

 Interrogatory as vague and ambiguous to the extent it seeks information about “all economic

 benefits of any nature that RCN has provided or could in the future provide to the persons you

 identify, by virtue of such interest.”

         Based on these objections, RCN will not answer this Interrogatory.
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        Interrogatory No. 11. For each year from 2011 to the present, identify RCN’s total gross

 revenues, profits and profit margins for its overall business; separately for its residential and

 business services; and separately for each of its business lines, including but not limited to

 internet, telephone, cable, and/or video on demand services.

        RESPONSE:

        In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, oppressive, unduly burdensome, and not proportional to the

 needs of the case as the Interrogatory seeks financial information that has no relevance to any

 issue in this case, and to the extent it seeks information from more than three years before

 Plaintiffs filed their Complaint in this matter.

        Subject to its specific and general objections, RCN states that it will produce and identify

 documents pursuant to Rule 33(d) from which the answer to this Interrogatory may be

 determined, for the years 2016 to present and to the extent RCN possesses the requested

 information.



        Interrogatory No. 12. Identify and describe in detail the transactions by which RCN was

 acquired by ABRY Partners, and acquired by TPG and thereafter combined with Grande

 Communications Networks LLC and Wave Broadband, including the purchase price or valuation

 of such transactions; the lawyers, bankers, advisors, and consultants who represented or worked

 on behalf of the parties to such transactions; the contracts and other documents evidencing such

 transactions; and all documents or communications concerning RCN’s policies, procedures, or

 practices concerning copyright infringement allegations, exchanged with Abry Partners or TPG

 in connection with such transactions.
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        RESPONSE:

        In addition to its General Objections, RCN objects to this Interrogatory as seeking

 irrelevant information, overly broad, oppressive, unduly burdensome, and not proportional to the

 needs of the case. General information about the identified transactions is not relevant to any

 issue in this case, and the collection, review, and organization of this information would impose

 great burdens and costs on RCN.

        Based on these objections, RCN will not answer this Interrogatory.



 Dated: June 4, 2020                                 By:    /s/ Zachary C. Howenstine
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                                CERTIFICATE OF SERVICE

        I hereby certify that June 4, 2020, a true and correct copy of the foregoing was served by

 email on:

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